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                    6   Attorneys for Defendants 4 Ever Life International Limited,
                        Worldwide Insurance Services, LLC and Blue Cross Blue
                    7   Shield Association


                    8
                    9                                       UNITED STATES DISTRICT COURT
                   10                                                 DISTRICT OF ARIZONA
                   11 Todd Schwartz, a married man                                    No. CV-20-02002-PHX-DJH
                   12                      Plaintiff,
                   13                                                                 CORPORATE DISCLOSURE
                                  vs.                                                 STATEMENT FOR BLUE CROSS
                   14                                                                 AND BLUE SHIELD ASSOCIATION
                      4 Ever Life International Limited dba 4
                   15 Ever Life Insurance Company, an Illinois
                      corporation; Blue Cross and Blue Shield
                   16 Association, an Illinois corporation; BCS
                   17 Financial Corporation, an Illinois
                      corporation; BCS Financial Services
                   18 Corporation, an Illinois corporation;
                      Worldwide Insurance Services, LLC, a
                   19 foreign registered limited liability
                   20 company; and Black and White
                      Corporations I-X,
                   21
                                    Defendants.
                   22
                   23
                   24            This Corporate Disclosure Statement is filed on behalf of Blue Cross and Blue
                   25 Shield Association in compliance with the provisions of:
                   26                X Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental
                   27                      corporate party to an action in a district court must file a statement

LEWIS              28                      that identified any parent corporation and any publicly held
BRISBOIS
BISGAARD
& SMITH LLP             4829-3252-6802.1
ATTORNEYS AT LAW
                             Case 2:20-cv-02002-DJH Document 16 Filed 11/30/20 Page 2 of 4




                    1                      corporation that owns 10% or more of its stock or states that there is
                    2                      no such corporation.
                    3                      Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any
                    4                      nongovernmental corporate party to a proceeding in a district court
                    5                      must file a statement that identifies any parent corporation and any
                    6                      publicly held corporation that owns 10% or more of its stock or states
                    7                      that there is no such corporation.
                    8                      Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an
                    9                      organizational victim of alleged criminal activity is a corporation the
                   10                      government must file a statement identifying the victim and the
                   11                      statement must also disclose the information required by Rule
                   12                      12.4(a)(1).
                   13            The filing party hereby declares as follows:
                   14                 X No such corporation.
                   15                      Party is a parent, subsidiary or other affiliate of a publicly owned
                   16                      corporation as listed below. (Attach additional pages if needed.)
                   17                                             Relationship
                   18                      Publicly held corporation, not a party to the case, with a financial interest in
                   19                      the outcome. List identity of corporation and the nature of financial interest.
                   20                      (Attach additional pages if needed.
                   21                                             Relationship
                   22                      Other (please explain)
                   23
                   24
                   25            A supplemental disclosure statement will be filed upon any change in the
                   26 information provided herein.
                   27

LEWIS              28                                    Dated this 30th day of November, 2020.
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& SMITH LLP
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                             Case 2:20-cv-02002-DJH Document 16 Filed 11/30/20 Page 3 of 4




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                    2                                  LEWIS BRISBOIS BISGAARD & SMITH LLP

                    3
                                                       By /s/ Robert C. Ashley
                    4                                     Sean P. Healy
                    5                                     Robert C. Ashley
                                                          Attorneys for Defendants 4 Ever Life International
                    6                                     Limited, Worldwide Insurance Services, LLC and
                                                          Blue Cross Blue Shield Association
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& SMITH LLP
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                             Case 2:20-cv-02002-DJH Document 16 Filed 11/30/20 Page 4 of 4




                    1                                  CERTIFICATE OF SERVICE
                    2            I hereby certify that on November 30, 2020, I electronically transmitted the
                    3 foregoing to the Clerk's office using the Court’s CM/ECF System and thereby served all
                    4 counsel of record in this matter.
                    5 Richard C. Gramlich
                      TIFFANY& BOSCO
                    6 Seventh Floor Camelback Esplanade II
                    7 2525 East Camelback Road
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                    8 RCG@tbla.com
                      Attorneys for Plaintiff Todd Schwartz
                    9
                   10
                        /s/ Sandy Rosales
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